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     Attorneys for Timothy H. Shaffer, Chapter 11 Trustee
 5

 6                                 UNITED STATES BANKRUPTCY COURT

 7                                               DISTRICT OF ARIZONA

 8   In re:                                                  Case No. 2-11-bk-28944-DPC

 9   POTENTIAL DYNAMIX, LLC,                                 CHAPTER 11

10                                     Debtor.               Adv. No. 2-13-ap-00799

11
     TIMOTHY H. SHAFFER, Chapter 11 Trustee,                 EX PARTE MOTION TO FILE UNDER
12                                                           SEAL THE TRUSTEE'S EXHIBITS TO THE
                                       Plaintiff,            REPLY IN SUPPORT OF MOTION TO
13                                                           PRECLUDE THE ADMISSION OF "DEEP
     vs.                                                     DIVE" DOCUMENTS INTO EVIDENCE
14
     AMAZON SERVICES LLC,                                    DATE: July 8, 2015
15                                                           TIME: 10:00 a.m.
                                       Defendant.            LOCATION: 230 North First Avenue
16                                                                        Phoenix, Arizona
                                                                          Courtroom 603, 6th Floor
17

18            Timothy H. Shaffer, the Chapter 11 Trustee in these proceedings (the "Trustee"), respectfully

19   files this motion for an order authorizing the Trustee to file under seal the exhibits (the "Exhibits") that

20   support the Trustee's Reply in Support of Motion to Preclude the Admission of "Deep Dive" Documents

21   Into Evidence. The Exhibits may contain confidential information pursuant to the Agreed Protective

22   Order (the "Protective Order") [DE 316] entered by the Court on July 2, 2013.              Pursuant to the

23   Protective Order, all "confidential information," as defined therein, must be filed under seal pursuant to

24   Rule 5.6, Local Rules of the Arizona District Court. The Protective Order further provides that this

25   Motion may be filed on an ex parte basis, and upon shortened notice, and that no opposition to the

26   Motion will be filed. In an abundance of caution, the Trustee requests authority to file the entire set of
     00291555.1
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 1   Exhibits under seal pursuant to the Protective Order. A form of order approving this motion has been

 2   lodged with the Court.

 3           DATED this       1st day of July, 2015.

 4                                                     SCHIAN WALKER, P.L.C.
 5

 6                                                     By /s/     SCOTT R. GOLDBERG, #015082
                                                                Dale C. Schian
 7                                                              Scott R. Goldberg
                                                                Attorneys for the Trustee
 8

 9   COPY of the foregoing
     e-mailed this 1st day
10   of July, 2015, to:
11   Richard M. Lorenzen, Esq.
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18
       /s/   DEBBI STEPHENS
19

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